           Case 1:19-cv-02666-ELR Document 1 Filed 06/12/19 Page 1 of 7




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


Inventergy LBS, LLC,

       Plaintiff,                                   Case No. ________________
       v.

Sierra Wireless America, Inc.,                      Patent Case
       Defendant.                                   Jury Trial Demanded



                     COMPLAINT FOR PATENT INFRINGEMENT

      Plaintiff Inventergy LBS, LLC ("Inventergy"), through its attorneys,

complains of Sierra Wireless America, Inc. ("Sierra Wireless"), and alleges the

following:

                                      PARTIES

      1.      Plaintiff Inventergy LBS, LLC is a corporation organized and existing

under the laws of Delaware that maintains its principal place of business at 900

East Hamilton Avenue, Campbell, CA 95008.

      2.      Defendant Sierra Wireless America, Inc. is a corporation organized

and existing under the laws of Delaware that maintains a principal place of

business at 400 Interstate N. Parkway SE, Suite 900, Atlanta, GA, 30339.


                                         1
            Case 1:19-cv-02666-ELR Document 1 Filed 06/12/19 Page 2 of 7




                                      JURISDICTION

       3.      This is an action for patent infringement arising under the patent laws

of the United States, Title 35 of the United States Code.

       4.      This Court has exclusive subject matter jurisdiction under 28 U.S.C.

§§ 1331 and 1338(a).

       5.      This Court has personal jurisdiction over Defendant because it

maintains a principle place of business in this district and has engaged in

systematic and continuous business activities in this District. As described below,

Defendant has committed acts of patent infringement giving rise to this action

within this District.

                                          VENUE

       6.      Venue is proper in this District under 28 U.S.C. § 1400(b) because

Defendant has committed acts of patent infringement in this District and has an

established place of business in this District. In addition, Inventergy has suffered

harm in this district.

                                     PATENT-IN-SUIT

       7.      Inventergy is the assignee of all right, title and interest in United

States Patent No. 8,760,286 (the "'286 Patent"); (the "Patent-in-Suit"); including all

rights to enforce and prosecute actions for infringement and to collect damages for


                                             2
           Case 1:19-cv-02666-ELR Document 1 Filed 06/12/19 Page 3 of 7




all relevant times against infringers of the Patent-in-Suit. Accordingly, Inventergy

possesses the exclusive right and standing to prosecute the present action for

infringement of the Patent-in-Suit by Defendant.

                                   The '286 Patent

      8.      The '286 Patent is entitled "System and method for communication

with a tracking device," and issued 6/24/2014. The application leading to the '286

Patent was filed on 4/10/2012, which ultimately claims priority from provisional

application number 61/065,116, filed on 2/8/2008. A true and correct copy of the

'286 Patent is attached hereto as Exhibit 1 and incorporated herein by reference.

      9.      The '286 Patent is valid and enforceable.

                   COUNT 1: INFRINGEMENT OF THE '286 PATENT

      10.     Inventergy incorporates the above paragraphs herein by reference.

      11.     Direct Infringement. Defendant has been and continues to directly

infringe one or more claims of the '286 Patent in at least this District by making,

using, offering to sell, selling and/or importing, without limitation, at least Sierra

Wireless's Uplink GPS Asset Tracker (the "Exemplary Sierra Wireless Products")

that infringe at least exemplary claims 1 of the '286 Patent (the "Exemplary '286

Patent Claims") literally or by the doctrine of equivalence. On information and




                                           3
         Case 1:19-cv-02666-ELR Document 1 Filed 06/12/19 Page 4 of 7




belief, numerous other devices that infringe the claims of the '286 Patent have been

made, used, sold, imported, and offered for sale by Defendant and/or its customers.

      12.    The filing of this Complaint constitutes notice and actual knowledge

in accordance with 35 U.S.C. § 287.

      13.    Despite such actual knowledge, Defendant continues to make, use,

test, sell, offer for sale, market, and/or import into the United States, products that

infringe the '286 Patent. On information and belief, Defendant has also continued

to sell the Exemplary Sierra Wireless Products and distribute product literature and

website materials inducing end users and others to use its products in the

customary and intended manner that infringes the '286 Patent. Thus, on

information and belief, Defendant is contributing to and/or inducing the

infringement of the '286 Patent.

      14.    Induced Infringement. Defendant actively, knowingly, and

intentionally has been and continues to induce infringement of the '286 Patent,

literally or by the doctrine of equivalence, by selling Exemplary Sierra Wireless

Products to their customers for use in end-user products in a manner that infringes

one or more claims of the '286 Patent.

      15.    Contributory Infringement. Defendant actively, knowingly, and

intentionally has been and continues materially contribute to their own customers'


                                           4
           Case 1:19-cv-02666-ELR Document 1 Filed 06/12/19 Page 5 of 7




infringement of the '286 Patent, literally or by the doctrine of equivalence, by

selling Exemplary Sierra Wireless Products to their customers for use in end-user

products in a manner that infringes one or more claims of the '286 Patent.

      16.     Exhibit 2 includes charts comparing the Exemplary '286 Patent

Claims to the Exemplary Sierra Wireless Products. As set forth in these charts, the

Exemplary Sierra Wireless Products practice the technology claimed by the '286

Patent. Accordingly, the Exemplary Sierra Wireless Products incorporated in these

charts satisfy all elements of the Exemplary '286 Patent Claims.

      17.     Inventergy therefore incorporates by reference in its allegations herein

the claim charts of Exhibit 2.

      18.     Inventergy is entitled to recover damages adequate to compensate for

Defendant's infringement.

                                     JURY DEMAND

      19.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Inventergy

respectfully requests a trial by jury on all issues so triable.

                                 PRAYER FOR RELIEF

WHEREFORE, Inventergy respectfully requests the following relief:

      A.     A judgment that the '286 Patent is valid and enforceable;




                                            5
     Case 1:19-cv-02666-ELR Document 1 Filed 06/12/19 Page 6 of 7




B.      A judgment that Defendant has infringed, contributorily infringed,

        and/or induced infringement of one or more claims of the '286 Patent;

C.          An accounting of all damages not presented at trial;

D.          A judgment that awards Inventergy all appropriate damages under 35

            U.S.C. § 284 for Defendant's past infringement, and any continuing or

            future infringement of the Patent-in-Suit, up until the date such

            judgment is entered, including pre- or post-judgment interest, costs,

        and disbursements as justified under 35 U.S.C. § 284 and, if necessary,

        to adequately compensate Inventergy for Defendant's infringement, an

        accounting:

       i.      that this case be declared exceptional within the meaning of 35

               U.S.C. § 285 and that Inventergy be awarded its reasonable

               attorneys' fees against Defendant that it incurs in prosecuting this

               action;

      ii.      that Inventergy be awarded costs, and expenses that it incurs in

               prosecuting this action; and

     iii.      that Inventergy be awarded such further relief at law or in equity as

               the Court deems just and proper.




                                         6
       Case 1:19-cv-02666-ELR Document 1 Filed 06/12/19 Page 7 of 7




Dated: June 12, 2019      Respectfully submitted,

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                                    7
